           Case 1:20-cr-00412-AT Document 90 Filed 03/02/21 Page 1 of 1

                                                                 USDC SDNY
UNITED STATES DISTRICT COURT                                     DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                    ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                        DOC #: _________________
                                                                 DATE FILED: 3/2/2021

               -against-
                                                                           20 Cr. 412 (AT)

BRIAN KOLFAGE,                                                                 ORDER
STEPHEN BANNON,
ANDREW BADOLATO, and
TIMOTHY SHEA,

                       Defendants.
ANALISA TORRES, District Judge:

         The trial scheduled for May 24, 2021, is ADJOURNED sine die. The Court, utilizing
the procedures within this District governing the scheduling of jury trials during the COVID-19
pandemic, will seek to schedule a jury trial for the third calendar quarter of 2021. By April 15,
2021, the parties shall submit blackout dates for trial.

       SO ORDERED.

Dated: March 2, 2021
       New York, New York
